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       Of Attorneys for Defendants
       Port of Portland and Does 1
       through 4
                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                     PORTLAND DIVISION

BLANCA AGUIRRE,                                      USDC Case No. 3:18-cv-1916
                                                     Multnomah County Case No. 18CV40045
                      Plaintiff,
       v.                                            NOTICE OF REMOVAL
PORT OF PORTLAND, a Municipal
Corporation, DOES 1 through 4, POLLIN
HOTELS II, LLC, an Oregon limited liability
company, doing business as SHERATON
PORTLAND AIRPORT HOTEL,
STARWOOD HOTELS & RESORTS
WORLDWIDE, LLC, a foreign limited
liability company doing business as FOUR
POINTS BY SHERATON,
                      Defendants.


       Please take notice that defendants Does 1 through 4 remove this action to United States

District Court for the District of Oregon, Portland Division, on the following grounds:

       1.      The removing parties have been named as defendants in a civil action filed in the

Circuit Court for the State of Oregon, County of Multnomah entitled Blanca Aguirre v. Port of

Portland, Does 1 through 4, Pollin Hotels II, LLC, dba Sheraton Portland Airport Hotel,

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Starwood Hotels & Resorts Worldwide, LLC, dba Four Points by Sheraton, Multnomah County

Court Case No. 18CV40045. Plaintiff asserts a federal claim for violation of 42 USC §1983,

against defendants DOES 1 through 4, and further asserts pendent state claims against

defendants.

         2.      Pursuant to 28 USC §1441(a), a defendant may remove an action filed in state

court to the United States District Court if the court has original jurisdiction over the action.

This court has original jurisdiction over this action in light of plaintiff’s claim under 42 USC

§1983.

         3.      Attached as Exhibit 1 is a copy of plaintiff’s Complaint filed in this matter.

         4.      Attached as Exhibit 2 is a copy of the Affidavit of Service relating to defendant

Port of Portland filed in this matter.

         5.      Attached as Exhibit 3 is a copy of the Affidavit of Service relating to defendant

Pollin Hotels II, LLC filed in this matter.

         6.      Attached as Exhibit 4 is a copy of the Affidavit of Service relating to defendant

Starwood Hotels & Resorts Worldwide, LLC filed in this matter.

         7.      Pursuant to 28 USC §1367, this court has supplemental jurisdiction over state law

claims because said claims are part of the same case and controversy as the federal claims, and

are derived from the same set of alleged operative facts.

         8.      Venue is proper in the United States District Court’s Portland division because the

plaintiff filed this action in the Multnomah County Circuit Court.

         9.      This case is being removed within thirty (30) days as required by 28 USC

§1446(b).

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       10.     Defendants Port of Portland, Pollin Hotels II, LLC and Starwood Hotels &

Resorts Worldwide, LLC consent to removal.

       11.     Defendant will immediately file a Notice of Removal with the clerk of the

Multnomah County Circuit Court in accordance with 28 USC §1446(d).

       WHEREFORE, defendants pray that this action be removed from the Multnomah County

Circuit Court to the United States District Court for the District of Oregon.



       DATED: November 2, 2018.


                                      MERSEREAU SHANNON LLP


                                             s/ Peter R. Mersereau
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have made service of the foregoing NOTICE OF REMOVAL
by sending a true and correct copy of same in the following manner:
                 X     U.S. regular mail, first class postage prepaid;
                       Hand delivery;
                 X     Electronic mailing;
                       Express and/or overnight service;
to the person listed below and addressed as follows:

 Kevin T. Lafky
 R. Grant Cook
 Lafky & Lafky
 429 Court Street NE
 Salem, OR 97301
 klafky@lafky.com
 gcook@lafky.com

 Of Attorneys for Plaintiff

       DATED: November 2, 2018.

                                        MERSEREAU SHANNON LLP


                                               s/ Peter R. Mersereau
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